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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         Case No. 1:12-cr-00310-DAD-BAM-1
12                      Plaintiff,
13          v.                                         ORDER GRANTING MOTION TO
                                                       WITHDRAW AS COUNSEL OF RECORD
14   JUAN MANUEL RODRIGUEZ,
                                                       (Doc. No. 290)
15                      Defendant.
16

17          The court has reviewed and considered defense counsel’s motion to withdraw as counsel

18   of record and the declaration and memorandum of points and authorities in support thereof. (Doc.

19   No. 290.) The court notes that the defendant was served with the motion and has filed no

20   opposition to it. Moreover, the time for the filing of a notice of appeal has expired with no such

21   notice being filed on behalf of this defendant and, in any event, in his plea agreement this

22   defendant waived both his right to appeal as well as to collaterally attack his plea and sentence.

23          Good cause appearing, the motion of attorney Patrick Q. Hall, to withdraw as counsel of

24   record on behalf of defendant Juan Manuel Rodriguez (Doc. No. 290) is granted. The hearing on

25   the motion to withdraw noticed for November 20, 2017, is hereby vacated.

26   IT IS SO ORDERED.
27
        Dated:     November 16, 2017
28                                                        UNITED STATES DISTRICT JUDGE
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